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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                            Civil Case No. l6-80964-CV-MIDDLEBROOKS
                         District Judge: The Honorable Donald M. Middlebrooks
                          Magistrate Judge: The Honorable Dave Lee Brannon


    CROCS, INC., a Delaware corporation;

            Plaintiff,

    vs.

    CVS Health Corporation, formerly known
    as CVS Caremark Corporation, a Delaware
    corporation; and CVS Pharmacy, Inc., a
    Delaware corporation

            Defendants.



            PLAINTIFF CROCS, INC.’S OPPOSITION IN PART TO CVS HEALTH
          CORPORATION AND CVS PHARMACY, INC.’S MOTION TO STAY AND/OR
                                     TRANSFER

   I.      INTRODUCTION


           Plaintiff Crocs, Inc. (“Crocs”) agrees that the appropriate course of action is to stay this

   matter while Crocs’s lawsuit against the manufacturer of the accused products proceeds. Crocs

   submits this Opposition in Part to provide its perspective on a stay, as well as to respond to

   alternative bases for a stay asserted in Defendants’ CVS Health Corporation and CVS Pharmacy,

   Inc.’s (collectively, “CVS”) Motion, ECF No. 28 (“Mot.”).

           At the same time, if the Court declines to stay the matter, it should not transfer the case to

   Rhode Island. Crocs initially sought to litigate these claims as part of ongoing litigation in

   Colorado against the manufacturer of the infringing shoes, and even offered to dismiss CVS, so

   long as CVS agreed to provide discovery and the manufacturer took responsibility for the


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   infringing sales. CVS refused, necessitating that this lawsuit be filed where infringing goods were

   sold. Having demanded litigation outside of Colorado, CVS requests to litigate in Rhode Island

   solely for sake of its own preference, yet none of the relevant factors favor litigation there. Because

   CVS has failed to prove that the interests of justice require transfer, the motion to transfer should

   be denied.

   II.    PROCEDURAL HISTORY AND BACKGROUND

          For over ten years, Crocs has been engaged in patent litigation against U.S.A. Dawgs, Inc.

   and its Canadian affiliate Double Diamond Distribution, Ltd. (collectively, “Dawgs”). Dawgs

   manufactures the infringing shoes sold by CVS. From 2006 to 2012, Crocs sought relief from the

   U.S. International Trade Commission (“ITC”) to prevent Dawgs’s importation of infringing

   footwear. In the course of those proceedings, the Federal Circuit affirmed the validity of Crocs’s

   patents, which Dawgs was found to infringe. See Crocs, Inc. v. ITC, 598 F.3d 1294, 1306, 1311

   (Fed. Cir. 2010); In re Certain Foam Footwear, Inv. No. 337-TA-567, USITC Pub. 4260 (ITC

   Oct. 1, 2011), available at 2011 WL 5997932, at *3.

          In a separate district court action in Colorado, Crocs sought money damages against Dawgs

   and others for their infringement, in Civil Action No. 06-cv-00605-PAB-KMT (the “Colorado

   Action”). See Complaint ¶22, ECF No. 1. From 2006 to 2012, the Colorado Action was stayed

   in favor of ITC proceedings. When the stay was lifted in mid-2012, Crocs sued CVS in Colorado

   for its sale of infringing Dawgs footwear. Id. 1 Crocs’s lawsuit against CVS lawsuit was

   consolidated with the Colorado Action. Id. ¶23. However, all litigation was stayed on Dawgs’s


   1
     Crocs believes that between 2006 and 2012, CVS had retail pharmacy locations in Colorado, a
   Pharmacy Benefit Management office in Colorado, and a CarePlus Pharmacy located in Denver,
   making the exercise of jurisdiction in Colorado reasonable as of the time the lawsuit was filed.
   Complaint ¶22, ECF No. 1. And because patent infringement claims relating to the same Dawgs
   footwear sold by CVS were already pending in Colorado, judicial economy was best served by
   having all claims relating to Dawgs’s footwear pending before the same court.
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   motion in 2012, due to Dawgs’s requests that the U.S. Patent Office reexamine Crocs’s patents.

   Id. Even though reexamination proceedings were still ongoing in 2016, Dawgs then requested that

   its stay of litigation be lifted. The Court granted Dawgs’s request on April 21, 2016. Id. ¶24.

          After the stay was lifted, CVS moved to dismiss the claims against it for lack of personal

   jurisdiction. Id. While the exercise of jurisdiction would have been reasonable as of 2012, in 2014

   the Supreme Court issued a decision in Daimler AG v. Bauman, 134 S. Ct. 746 (2014), narrowing

   the circumstances under which personal jurisdiction may be found. To conserve judicial resources

   and avoid the pendency of multiple cases, Crocs proposed to dismiss its claims against CVS

   without prejudice if Dawgs and CVS stipulated that (1) all shoes sold by Dawgs to CVS during all

   time periods were sold by Dawgs to CVS within the United States (to ensure jurisdiction over the

   sales); (2) Dawgs would retain samples of each shoe sold to CVS and documents sufficient to

   show revenue and volume of all sales of shoes to CVS; and (3) CVS would not rely on its status

   as a non-party to the Colorado litigation as a basis to object to discovery served on it in the

   Colorado case. Complaint ¶25, ECF No. 1.

          CVS and Dawgs refused Crocs’s proposal. Id. Accordingly, Crocs filed its Complaint

   against CVS on June 10, 2016 in this Court, which encompasses the district where the infringing

   shoes were sold and offered for sale. Id. Crocs has sued CVS for selling shoes that infringe both

   Crocs’s ’789 patent and its ’465 patent.

   III.   ARGUMENT

          A.      Crocs Agrees That Judicial Efficiency And Minimizing The Risk Of
                  Inconsistency Is Best Served By Staying This Matter In Favor Of The
                  Colorado Lawsuit.

          While differing on rationale, both parties to this matter agree that a stay is appropriate.

   Crocs maintains that this matter should be stayed during the pendency of its suit against Dawgs in

   Colorado, which is where Crocs is seeking to resolve its claims against the manufacturer of the

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   CVS shoes. The Colorado Action is capable of resolving CVS’s liability for selling infringing

   Dawgs footwear. 2 Upon the conclusion of that case, the only remaining issues to be addressed

   here will likely be the calculation of damages against CVS and execution of judgment, given the

   risk that Dawgs may be incapable of indemnifying CVS for the full amount of damages for its

   infringement. Indeed, CVS has conceded that if Crocs prevails in the Colorado litigation, CVS

   will be bound by that judgment and “the only remaining issue for the instant action will be a

   determination of damages” against CVS. Mot. at 9. For these reasons, Crocs agrees that a stay is

   appropriate and requests that the Court grant a stay in this matter pending the resolution of Case

   No. 06-cv-00605-PAB-KMT in Colorado. 3

          For the same reason—that CVS will be liable for damages as a retailer and Dawgs may not

   be able to satisfy a judgment for the damages caused by CVS—Crocs submits that a dismissal of

   this action without prejudice during the pendency of the Colorado matter would work an injustice

   on Crocs. Under the patent statutes, Crocs is permitted to seek damages for up to six years of pre-

   suit infringement. A dismissal of this matter pending the Colorado action, instead of a stay pending




   2
     While the ’789 patent is already a part of the Colorado Action, since June 28, 2016, Crocs has
   been seeking to amend its complaint to add the ’465 patent, the other patent asserted against CVS
   in this case. Dawgs has opposed that request, and thereafter filed a separate declaratory judgment
   lawsuit relating to the ’465 patent in the District of Nevada, on July 18, 2016. See Mot. at 4-5.
   Regardless of whether the Colorado or Nevada Court ultimately decides Dawgs’s infringement of
   the ’465 patent, it would be duplicative for this Court to do so as well.
   3
     CVS asked that Crocs agree to a “non-opposition” of its motion to stay in exchange for CVS
   dropping its request to transfer. Crocs did not agree because Crocs does not agree that the customer
   suit exception applies to this matter where CVS refused to cooperate in the consolidated Colorado
   litigation. See Heinz Kettler GmbH & Co. v. Indian Indus., Inc., No. 2:08cv168, 2008 WL
   4194880, at *2 (E.D. Va. Sept. 10, 2008) (in joint suit against manufacturer and sellers of accused
   product, denying motion to stay claims under customer-suit exception as judicial economy would
   not be served by staying the action against one party). Crocs also does not believe that a stay in
   favor of any proceedings at the Patent Office is appropriate, where the manufacturer here expressly
   argued that the Patent Office proceedings should not stay any underlying question of infringement.
   Complaint ¶24, ECF No. 1. Crocs does, however, agree that a stay in favor of the Colorado
   litigation is appropriate, as discussed above. Crocs offered to agree to that stay prior to filing this
   response, but CVS never responded.
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   the Colorado action, could limit Crocs’s ability to seek restitution for CVS’s infringement at the

   conclusion of the Colorado case.

          Crocs recognizes that a stay in favor of the Colorado Action will leave this matter

   unresolved in this Court for an indefinite time period, and that this will create an administrative

   burden for this Court. Crocs respectfully requests that the Court nevertheless grant the stay, rather

   than require a dismissal, so that the question of infringement can be resolved efficiently in the

   preexisting matter without risk of inconsistent judgments without Crocs losing its right to seek

   damages from CVS at the end of the day.

          B.      The Court Should Not Transfer This Case to Rhode Island, Which Is Not An
                  Appropriate Or Convenient Forum To Try This Case.

          Regardless of whether the Court stays this matter, a transfer to Rhode Island is not

   warranted. See Mot. at 2 (arguing in the alternative for a transfer). CVS has failed to show that

   convenience or the interests of justice favor a transfer. Each factor strongly favors litigation in

   this forum or Colorado, where the suit against Dawgs is already pending.

          CVS bears the burden of showing facts demonstrating an entitlement to transfer. See In re

   Ricoh Corp., 870 F.2d 570, 573 (11th Cir. 1989). This burden is high: Crocs’s choice of forum

   “should not be disturbed unless it is clearly outweighed by other considerations.” Robinson v.

   Giarmarco & Bill, P.C., 74 F.3d 253, 260 (11th Cir. 1996) (internal quotation marks and citation

   omitted); accord Mason v. Smithkline Beecham Clinical Labs., 146 F. Supp. 2d 1355, 1359 (S.D.

   Fla. 2001) (“Transfer can only be granted where the balance of convenience of the parties strongly

   favors the defendant.”) (emphasis in original; citations omitted). Not only must CVS show that

   this lawsuit could have been filed in another venue, it must also show that “convenience and the

   interest of justice require transfer to the requested forum.”        Rothschild Storage Retrieval

   Innovations, LLC v. Sony Mobile Commc’ns (USA) Inc., No. 14-CIV-22652, 2015 WL 224952, at


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   *2 (S.D. Fla. Jan. 15, 2015) (citations omitted). 4 CVS has not, and cannot, show that convenience

   or the interests of justice favor transfer.

                   1.      Dawgs Has Made No Showing That Any Public Interest Factor
                           Weighs In Favor Of Transfer.

           Courts have broad discretion “to adjudicate motions for transfer according to an

   ‘individualized, case-by-case consideration of convenience and fairness.’” Stewart Org., Inc. v.

   Ricoh Corp., 487 U.S. 22, 29 (1988) (quoting Van Dusen v. Barrack, 376 U.S. 612, 622 (1964)).

   Specifically, the public interest factors courts consider include: “the administrative difficulties

   flowing from court congestion; the local interest in having localized controversies decided at

   home; the interest in having the trial of a diversity case in a forum that is at home with the law that

   must govern the action; the avoidance of unnecessary problems in conflict of laws, or in the

   application of foreign law; and the unfairness in burdening citizens in an unrelated forum with jury

   duty.” Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 n.6 (1981) (internal quotation marks

   omitted).

           Here, Dawgs has made zero showing that this Florida Court is congested, that Rhode Island

   has some local interest in deciding this case, that adjudication in Rhode Island is necessary to avoid

   problems in conflicts of laws given that this case will involve application of federal patent law, or

   any of the other relevant public interest factors. To the contrary, the public’s interest in the location

   of this dispute rests, if with any jurisdiction, in Florida or Colorado. The litigation over the ’789

   patent has been ongoing for over a decade in the District of Colorado, which is Crocs’s home.

   Mot. at 8 (“The ’789 patent has already passed a decade of ongoing litigation between Crocs and




   4
     Crocs does not dispute that the patent venue statute (28 U.S.C. § 1400(b)) allows suit to be
   brought in any venue in which the defendant has committed acts of infringement or otherwise may
   be subjected to personal jurisdiction.
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   Dawgs[.]”). And, CVS’s infringement has occurred in this District. There is no showing that

   Rhode Island has any interest in any aspect of this matter.

                  2.      Dawgs Has Made No Showing That Any Private Interest Factor
                          Weighs In Favor Of Transfer.

          The private-interest factors to be considered include “the relative ease of access to sources

   of proof; availability of compulsory process for attendance of unwilling, and the cost of obtaining

   attendance of willing, witnesses; possibility of view of premises, if view would be appropriate to

   the action; and all other practical problems that make trial of a case easy, expeditious and

   inexpensive.” Am. Dredging Co. v. Miller, 510 U.S. 443, 448 (1994) (citation omitted); Membreno

   v. Costa Crociere S.p.A., 425 F.3d 932, 937 (11th Cir. 2005). Here, CVS’s motion seeks to transfer

   this case to the place that is claimed to be more convenient for CVS, but where there is zero

   evidence that there is actually any convenience for anyone in Rhode Island.

          CVS states that it is headquartered in Rhode Island, and says its witnesses and “sources of

   proof” will be there. Mot. at 11-12. But CVS provides no factual support for this assertion.

   Instead, with its Motion, CVS submitted a copy of a declaration it had previously submitted in

   Colorado directed to issues of personal jurisdiction for only one of the CVS parties, CVS Health

   Corporation, as it concerned that entity’s connection to Colorado. Declaration of Thomas S.

   Moffatt ¶¶2-11, ECF No. 28-1. It is completely silent on the relevant issues as to CVS Pharmacy,

   Inc., despite acknowledging that CVS Pharmacy is a subsidiary of CVS Health. Id. ¶3 5. It does

   not indicate where sales records or communications relevant to sales from CVS’s Florida stores



   5
     Several days after filing its Motion, and without seeking leave, CVS submitted a second
   declaration by the same individual, yet this did not add any details relevant to the transfer factors.
   See ECF No. 35-1. In fact, the second declaration does not even identify which CVS entity owns
   and operates the Florida stores that sold and advertised the infringing footwear, nor where relevant
   witnesses are located or records are kept. Id. ¶5 (“The CVS/pharmacy retail stores are owned and
   operated by CVS Pharmacy, Inc. or its subsidiaries.”) (emphasis added).
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   are kept, where expected witnesses are located, and how their testimony would be relevant. Rather,

   CVS asks the Court to assume all of this by way of lawyer argument asserting that “all of the

   alleged infringer’s witnesses, documents, and other ‘sources of proof’ are expected to be found”

   in Rhode Island. Mot. at 12 (emphasis added). Such vague statements fall far short of CVS’s

   burden. “The party seeking the transfer must support its motion by clearly specifying the key

   witnesses to be called and particularly stating the significance of their testimony.” Mason, 146 F.

   Supp. 2d at 1362 (citation omitted); see also Carroll v. Texas Instruments, Inc., 910 F. Supp. 2d

   1331, 1336 (M.D. Ala. 2012) (denying alleged infringer’s motion to transfer where “after making

   these broad and vague statements, [defendant] has not gone the further step of helping the court to

   make an educated guess of which and how many of these employees will be likely trial witnesses”);

   Chambers v. Cooney, No. CIV. A. 07-0373-WS-B, 2007 WL 2493682, at *14 (S.D. Ala. Aug. 29,

   2007) (denying motion to transfer where moving party had “not demonstrated that these witnesses

   and documents are substantially likely to be concentrated in Minnesota, so as to tip the balance of

   justice and convenience in favor of that forum.”).

          Although CVS says “[t]he decision to carry the accused product was made in” Rhode

   Island (Mot. at 13), it provides no factual support for this assertion, nor an explanation why this

   decision is relevant to a claim or defense. Even if CVS had actually identified a witness located

   in Rhode Island, and then explained why “the decision to carry the accused product” would require

   that witness to testify in a trial, it does not matter: “the court accords very little weight to the

   convenience of employee witnesses because these witnesses are under the control of their

   employer and presumably will be available at trial, irrespective of where the trial is held.”

   Datascape, Inc. v. Kyocera Wireless Corp., No. 1:05-CV-1651-CC, 2006 WL 8411935, at *4

   (N.D. Ga. Sept. 12, 2006) (denying motion to transfer). And Section 1404(a) “provides for transfer



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   to a more convenient forum, not to a forum likely to prove equally convenient or inconvenient,”

   so even if there were relevant documents or witnesses in Rhode Island, that would only mean

   “neither forum provides a clearly more convenient solution.” Omega Patents, LLC v. Lear Corp.,

   No. 6:07–cv–1422-Orl-35DAB, 2009 WL 1513392, at *3 (M.D. Fla. May 27, 2009). In short, the

   only support for transfer is that Rhode Island is CVS’s principal place of business. That alone is

   not a sufficient basis. See, e.g., Carroll, 910 F. Supp. 2d at 1334 (denying motion to transfer

   where alleged infringer argued that it would be inconvenienced by having to litigate somewhere

   other than its principal place of business).

          CVS’s purported legal authority is irrelevant: CVS relies on two cases where the matter

   was transferred to the forum where the accused product was designed and developed. Mot. at 13

   (citing Trace-Wilco, Inc. v. Symantec Corp., No. 08-80877-CIV., 2009 WL 455432, at *4 (S.D.

   Fla. Feb. 23, 2009), and In re Mayfonk, Inc., 554 Fed. Appx. 943, 944 (Fed. Cir. 2014)). While it

   is true that “[t]he design, development, marketing, manufacture, and sale” of an accused product

   are typically the primary issues in a patent infringement action (Polyform A.G.P. Inc. v. Airlite

   Plastics Co., No. 4:10–cv–43-(CDL), 2010 WL 4068603, at *5 (M.D.Ga. Oct.15, 2010)), the

   accused shoes in this case were not designed or developed in Rhode Island, where the retailer’s

   headquarters are located. Indeed, CVS has put forward no evidence as to where the accused

   products were developed, only submitting, by way of lawyer argument, that “the accused products

   in this case are manufactured by Dawgs, a Nevada based company.” Mot. at 13. CVS’s cases are

   irrelevant to whether this case should be transferred to Rhode Island as opposed to litigated in

   Crocs’s chosen forum.

          Finally, CVS says the lawyers on both sides are based in Las Vegas or San Francisco, and

   have appeared pro hac vice. That argument is not convincing. To transfer on such grounds would



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   render pro hac vice admission meaningless and would imply that transfer is required in any case

   involving out-of-state counsel. Indeed, this is why “convenience to counsel ‘is generally not an

   appropriate consideration’ in a 1404(a) transfer motion.” Cellularvision Tech. & Telecomms., L.P.

   v. Alltel Corp., 508 F. Supp. 2d 1186, 1190 (S.D. Fla. 2007) (citation omitted); Andersons v. Enviro

   Granulation, LLC, No. 8:13-cv-3004-T-33MAP, 2015 WL 2025590, at *9 (M.D. Fla. Apr. 30,

   2015) (“Although Defendants also maintain that lead counsel for both sides in located in Michigan,

   the convenience of litigation counsel is not relevant.”).

          The bottom line: CVS provides no plausible reason why any of the private or public interest

   factors weigh in favor of transfer, let alone that justice requires it. 6 The Motion to transfer should

   be denied.

   IV.    CVS’S BASELESS FEE REQUEST SHOULD BE DENIED

          CVS’s one-sentence request for attorney’s fees and costs “incident to preparing and filing

   this motion” (Mot. at 14) should not even merit the Court’s consideration, as CVS has failed to

   provide legal or factual support.

   V.     CONCLUSION

          Crocs respectfully requests that the Court stay this matter during the pendency of the

   Colorado Action. The Court should deny CVS’s motion to transfer this case to Rhode Island.




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     In fact, much of CVS’s Motion rests on name-calling and claims about Crocs’s intent, such as
   that Crocs chose Florida as the “most remote and inconvenient possible venue for any involved
   party” to create “duplicative, ancillary and unnecessary litigation[.]” Mot. at 1, 5. The procedural
   history disproves such unfounded accusations. By resisting efficient consolidated litigation in
   Colorado, Dawgs and CVS—not Crocs—necessitated this separate lawsuit. See Compl. ¶25, ECF
   No. 1. In any case, such invective has no relevance to the merits.
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                            CERTIFICATE OF FILING AND SERVICE


             I HEREBY CERTIFY that on this 26th day of August 2016, a true and correct copy of the

   foregoing is being electronically filed with the Clerk of the Court using the CM/ECF filing system.

   I also certify that the foregoing document is being served this date on all counsel of record or pro

   se parties on the attached Service List in the manner specified, either via transmission of Notices

   of Electronic Filing generated by the CM/ECF system or in some other authorized manner for

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